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     Acting Federal Defender
 2   Lexi Negin, D.C. Bar #446153
     Assistant Federal Defender
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     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     DONNA LAVETTA WILSON
 6
 7                                    IN THE UNITED STATES DISTRICT COURT
 8                                 FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,                          )   CASE NO. CR-S-06-450 (LKK)
10                                                      )
                               Plaintiff,               )   AMENDED
11                                                      )   ORDER AFTER HEARING
               v.                                       )
12                                                      )
     DIALLO SIMS                                        )   JUDGE: Lawrence K. Karlton
13                                                      )
     DONNA LAVETTA WILSON,                              )
14                                                      )
                       Defendants.
15   _______________________________
16                   This matter came on for Status Conference on December 5, 2006, in the courtroom of the
17   Honorable Lawrence K. Karlton, Senior Judge. Assistant United States Attorney John Vincent appeared
18   on behalf of the United States of America. Attorney Hayes Gable, III, appeared for Diallo Sims, who was
19   present and in custody, and Assistant Federal Defender Lexi Negin appeared on behalf of Defendant
20   Donna Wilson, who was present and in custody.
21             Both defense counsel requested additional time for investigation, review of discovery and to
22   prepare a defense of the case with the government. A further status conference date of January 17, 2007,
23   is set.
24             Accordingly, the parties agreed to exclude time from calculation under the Speedy Trial Act for
25   the reasons stated above, pursuant to 18 U.S.C. §3161 (h)(8)(B)(iv) and Local Code T4, for preparation of
26   counsel, from December 5, 2006, up until and including January 17, 2007.
27             Good cause appearing therefor,
28   Order After Hearing
                Case 2:06-cr-00450-MCE Document 16 Filed 12/06/06 Page 2 of 2


 1          IT IS ORDERED that this matter is continued to January 17, 2007, at 9:30 a.m. for Status
 2   Conference.
 3          IT IS FURTHER ORDERED that pursuant to 18 U.S.C. §3161 (h)(8)(B)
 4   (iv) and Local Code T4, the period from December 5, 2006, up to and including January 17, 2007, is
 5   excluded from the time computations required by the Speedy Trial Act due to ongoing preparation of
 6   counsel.
 7   Dated: December 6, 2006
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     Order After Hearing                                2
